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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Michael Davis
                                Plaintiff,
v.                                                   Case No.: 1:17−cv−03654
                                                     Honorable Elaine E. Bucklo
Wesam S. Ali, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 4, 2018:


       MINUTE entry before the Honorable Elaine E. Bucklo: Pursuant to the stipulation
to dismiss [31], this case is dismissed with prejudice as to the Illinois Department of
Corrections, with each party bearing its own attorney's fees and costs. Illinois Department
of Corrections is terminated as a party to this case. Case remains pending as against
non−dismissed Defendants.Mailed notice. (mgh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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